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 12   Attorney for Defendant
 13   LEE & EO INVESTORS, LLC

 14                      UNITED STATES DISTRICT COURT
 15                     CENTRAL DISTRICT OF CALIFORNIA
 16
 17       JAMES RUTHERFORD, an            Case No.: 8:20-cv-01615-JLS-DFM
 18       individual,
                                          Hon. Josephine L. Staton
 19       Plaintiff,
 20                                           JOINT STIPULATION FOR
          v.                                  DISMISSAL OF THE ENTIRE
 21                                           ACTION WITH PREJUDICE
 22       LEE & EO INVESTORS,
          LLC, a California limited       Complaint Filed: August 28, 2020
 23       liability company; and          Trial Date: None
 24       DOES 1-10, inclusive,
 25       Defendants.
 26
 27
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         JOINT STIPULATION FOR DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
Case 8:20-cv-01615-JLS-DFM Document 19 Filed 12/24/20 Page 2 of 2 Page ID #:65

  1         TO THE COURT AND ALL PARTIES:
  2         Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure,
  3   Plaintiff JAMES RUTHERFORD (“Plaintiff”) and LEE & EO INVESTORS, LLC
  4   (“Defendant”), stipulate and jointly request that this Court enter a dismissal with
  5   prejudice of Plaintiff’s Complaint in the above-entitled action, in its entirety. Each
  6   party shall bear his or its own attorneys’ fees, expert fees, and costs.
  7
  8         IT IS SO STIPULATED.
  9
                                            Respectfully submitted,
 10
 11                                         MANNING LAW, APC
      DATED: December 24, 2020
 12                                         By: /s/ Joseph R. Manning, Jr.
 13                                           Joseph R. Manning, Jr.
                                              Attorney for Plaintiff
 14                                           James Rutherford
 15
 16
                                             LAW OFFICES OF LEWIS
 17   DATED: December 24, 2020
                                             & LEWIS, APC
 18
 19                                         By: /s/ John J. Lewis
                                              John J. Lewis
 20                                           Attorneys for Defendant
 21                                           Lee & Eo Investors, LLC
 22
 23                  Certification Pursuant to Local Rule 5-4.3.4(a)(2)(i)
 24         Pursuant to Local Rule 5-4.3.4(a)(2)(i), I, Joseph R. Manning, Jr., hereby do
 25   attest that all signatories listed, and on whose behalf the filing is submitted, concur
 26   in the filing’s content and have authorized the filing.
 27
 28   DATED: December 24, 2020                By: /s/ Joseph R. Manning, Jr.


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          JOINT STIPULATION FOR DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
